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                                                                     August 29, 2024



         VIA CM/ECF

         Mr. Lyle W. Cayce
         Clerk of the Court
         U.S. Court of Appeal for the Fifth Circuit
         600 S. Maestri Place
         New Orleans, LA 70130-3408

                 Re:     Favre v. Sharpe, No. 23-60610
                         Letter Pursuant to Fed. R. App. P. 28(j) and 5th Cir. R. 28.4

         Dear Mr. Cayce:

                 In Palin v. New York Times, 2024 WL 3957617 (2d Cir. Aug. 28, 2024), a defamation action,
         the Second Circuit, having earlier vacated dismissal under Rule 12(b)(6) for relying on and
         crediting “matters outside the pleadings,” id. at *5, vacated the action’s Rule 50 dismissal for
         “ignoring facts or inferences that a reasonable juror could plausibly have found to support
         [plaintiff’s] case,” id. at *1 (“The jury is sacrosanct … and we have a duty to protect its
         constitutional role … by ensuring [it] is not usurped by judges.”).

                 For Mississippi defamation cases, Roussel adopted Milkovich, which “reaffirm[ed] the
         traditional functions of judges and juries” such that “only the clearest cases should be deemed
         nonactionable as a matter of law, avoiding thereby any direct and unnecessary conflict with the
         constitutional right of trial by jury,” David Elder, Defamation: A Lawyer’s Guide § 8:17 (2023)
         (cleaned up).

                Because reasonable listeners could have construed Sharpe’s false statements literally
         (unlike in Greenbelt and Letter Carriers), this Court should vacate the decision deeming them
         nonactionable rhetorical hyperbole as a matter of law—thereby usurping the jury’s role—and
         remand for further proceedings on fact issues, including how Sharpe’s audience construed his
         statements. Doc. 48 at 2-4.
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         Another new development is the publication of the defamatory Mississippi Swindle: Brett
Favre and the Welfare Scandal That Shocked America by Shad White. Favre denies the statements
therein and elsewhere accusing him of wrongdoing—just as he denies such statements in
Undisputed and the September 2022 Mississippi Today article—and is prepared to prove to a jury
their falsity. Doc. 42 at 2-3; Doc. 48 at 22-28.

        Notably, White uses steal for unlawfully diverting and receiving funds,
http://www.mississippiswindle.com (Favre and others “stole millions in welfare funds”—i.e.,
“lined their own pockets with tens of millions of dollars diverted from the [welfare] program”).
This supports Favre’s argument that the district court erred in holding as a matter of law that
Sharpe’s using steal was merely rhetorical hyperbole. Steal encompasses unlawfully diverting and
receiving funds and is not limited to entering homes and taking money. Doc. 48 at 5; ROA.381.


                                                           Respectfully submitted,

                                                           /s/ Amit R. Vora

                                                           Amit R. Vora


Cc: All counsel of record
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Palin v. New York Times Company, --- F.4th ---- (2024)
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                                                              *1 Plaintiff Sarah Palin appeals the dismissal of her
                  2024 WL 3957617                             defamation complaint against defendant The New York Times
    Only the Westlaw citation is currently available.         (“the Times”) and its former Opinion Editor, defendant
    United States Court of Appeals, Second Circuit.           James Bennet, for the second time. We first reinstated the
                                                              case in August 2019 following an initial dismissal by the
           Sarah PALIN, Plaintiff–Appellant,                  district court (Rakoff, J.) under Federal Rule of Civil
                             v.                               Procedure 12(b)(6). Palin's claim was subsequently tried
    The NEW YORK TIMES COMPANY and James                      before a jury but, while the jury was deliberating, the district
                                                              court dismissed the case again—this time under Federal Rule
            Bennet, Defendants–Appellees.*
                                                              of Civil Procedure 50. We conclude that the district court's
                       No. 22-558                             Rule 50 ruling improperly intruded on the province of the
                            |                                 jury by making credibility determinations, weighing
                    August Term 2023                          evidence, and ignoring facts or inferences that a reasonable
                            |                                 juror could plausibly have found to support Palin's case.
                Argued: November 6, 2023
                            |                                 Despite the district court's Rule 50 dismissal, the jury was
                Decided: August 28, 2024                      allowed to reach a verdict, and it found the Times and
                                                              Bennet “not liable.” Unfortunately, several major issues at
                                                              trial—specifically, the erroneous exclusion of evidence, an
Appeal from the United States District Court for the
                                                              inaccurate jury instruction, a legally erroneous response to a
Southern District of New York. (Rakoff, J.)
                                                              mid-deliberation jury question, and jurors learning during
Attorneys and Law Firms                                       deliberations of the district court's Rule 50 dismissal
                                                              ruling—impugn the reliability of that verdict.
Shane B. Vogt, Turkel Cuva Barrios, P.A., Tampa, FL
(Kenneth G. Turkel, Turkel Cuva Barrios, P.A., Tampa, FL;     The jury is sacrosanct in our legal system, and we have a
Michael Munoz, S. Preston Ricardo, Golenbock Eiseman          duty to protect its constitutional role, both by ensuring that
Assor Bell & Peskoe LLP, New York, NY, on the brief) for      the jury's role is not usurped by judges and by making certain
Plaintiff–Appellant Sarah Palin.                              that juries are provided with relevant proffered evidence and
                                                              properly instructed on the law. We therefore VACATE and
Jay Ward Brown, Ballard Spahr LLP, New York, NY (David        REMAND for proceedings, including a new trial, consistent
L. Axelrod, Jacquelyn N. Schell, Thomas B. Sullivan, on the   with this opinion.
brief), for Defendants–Appellees The New York Times
Company and James Bennet.

Theodore J. Boutrous, Jr., Jillian N. London, Gibson, Dunn    I. Background
& Crutcher LLP, Los Angeles, CA; Bruce D. Brown, Katie        Unless otherwise indicated, the following background
Townsend, Reporters Committee for Freedom of the Press,       information was presented to the jury in the form of exhibits
Washington, DC; Connor Sullivan, Gibson, Dunn &               and testimony at trial. Because Palin was the non-movant,
Crutcher LLP, New York, NY, for amici curiae The              we view the evidence in the light most favorable to her. See
Reporters Committee for Freedom of the Press and 52 Media     Cobb v. Pozzi, 363 F.3d 89, 101 (2d Cir. 2004). No statement
Organizations.                                                in this opinion should be understood as resolving issues of
Before: Walker, Raggi, and Sullivan, Circuit Judges.          fact.

Opinion                                                       On June 14, 2017, the Times’ Editorial Board published the
                                                              editorial challenged in this case, entitled “America's Lethal
John M. Walker, Jr., Circuit Judge:
                                                              Politics” (“the editorial”), which compared two political
                                                              shootings. Suppl. App'x 440 (PX-4).1 In the first attack, on

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January 8, 2011, Jared Loughner killed six people and             prior Times editorial “that references hate type speech
injured     thirteen    others,   including    Democratic         against [Democrats] in the runup to [the Loughner]
Congresswoman Gabrielle Giffords, during a constituent            shooting,” since “James [had] referenced that.” Id. at 1699
event held by Giffords in Arizona (“the Loughner                  (PX-126). Lett forwarded the email to Bennet, who clarified
shooting”).2 In the second, which took place in 2017 in           that he was asking if the Times had “ever writ[ten] anything
Virginia on the day the editorial was published, James            connecting ... the [Loughner] shooting to some kind of
Hodgkinson seriously injured four people, including               incitement.” Id. He asked Lett to “send [him] the pieces [she]
Republican Congressman Stephen Scalise, at a practice for a       sent [Williamson],” and he forwarded to Williamson other
congressional baseball game (“the Hodgkinson shooting”).          pieces that he received from Lett. Id.; see id. at 1702 (PX-
                                                                  128). Specifically, Lett sent Bennet the following three
*2 In comparing these two tragedies, the editorial made           Times articles, the first of which was sent to Williamson by
statements about the Loughner shooting that are the subject       Lett at Bennet's suggestion and the latter two of which
of this defamation action. It stated that there was a “clear”     Bennet forwarded to Williamson himself:
and “direct” “link” between the Loughner shooting and the
“political incitement” that arose from a digital graphic            • “No One Listened to Gabrielle Giffords” by Frank Rich
published in March 2010 by former Alaska governor and                  (Jan. 15, 2011), which stated that “[w]e have no idea”
vice-presidential candidate Sarah Palin's political action             whether Loughner saw the crosshairs map and referred
committee (“the challenged statements”3). Id. The graphic              to Loughner as being “likely insane, with no coherent
was a map that superimposed crosshairs over twenty                     ideological agenda,” while also noting that that “does
congressional districts represented by Democrats—including             not mean that a climate of antigovernment hysteria
Giffords’ district. Id. at 459 (DX-61). In fact, a relationship        ha[d] no effect on [Loughner].” Id. at 1705–07 (PX-
between the crosshairs map and the Loughner shooting was               133).
never established; rather, at the time of the editorial, the
                                                                    *3 • “Bloodshed and Invective in Arizona” by the Times’
attack was widely viewed as a tragic result of Loughner's
                                                                      Editorial Board (Jan. 9, 2011), which noted that
serious mental illness.
                                                                      Loughner “appears to be mentally ill,” indicated that
                                                                      Loughner does not fall into “usual ideological
                                                                      categories,” and stated that “[i]t is facile and mistaken
   A. The Editorial                                                   to attribute [the Loughner shooting] directly to
The idea of publishing an editorial about the Hodgkinson              Republicans or Tea Party members.” Id. at 1709–11
shooting was first raised by Elizabeth Williamson, a writer           (PX-134).
for the Times, on the morning of June 14, 2017 in an email
to James Bennet and other members of the Times’ Editorial           • “As We Mourn” by the Times’ Editorial Board (Jan. 12,
Board. A follow-up email from Williamson indicated that                2011), which quoted then-President Barack Obama's
Hodgkinson might have had “POSSIBLE ... pro-Bernie, anti-              statement that “a simple lack of civility ... did not”
Trump” views. App'x 1694 (PX-119). Editorial Board                     cause the Loughner shooting and mentioned that Palin
members weighed in on Williamson's idea. Bennet asked                  accused journalists of “committ[ing] a ‘blood libel’4
“whether there's a point to be made about the rhetoric of              when they raised questions about overheated rhetoric”
demonization and whether it incites people to this kind of             in connection with the Loughner shooting. Id. at 1712–
violence,” adding that “if there's evidence of the kind of             13 (PX-135).
inciting hate speech on the left that we, or I at least, have
tended to associate with the right (e.g., in the run-up to the    Williamson drafted the editorial and uploaded it to
Gabby Giffords shooting) we should deal with that.” Id.           “Backfield,” part of the Times’ content management system,
                                                                  in the late afternoon of June 14. Williamson's draft (“the
Williamson conducted research for the editorial with the aid      initial draft”) did not contain the challenged statements. It
of the Board's editorial assistant, Phoebe Lett. Prompted by      stated only that Loughner's “rage was nurtured in a vile
Bennet's suggestions, she asked Lett whether there was a          political climate” and that the “pro-gun right [was]

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criticized” at the time of the Loughner shooting. It also noted         connection to th[e] crosshair[s] map .... [O]ur
that, before the shooting, Palin's political action committee           editorial seems to essentially reverse the fact
had “circulated a map of targeted electoral districts that put          pattern as I understand it, making it sound like
Ms. Giffords and 19 other Democrats under stylized                      *Loughner* had the clearer connection to
crosshairs.”5 Suppl. App'x 454 (PX-141). The word                       partisan rhetoric, when to the best of my
“circulated” in the initial draft was hyperlinked to a January          knowledge he had none.
9, 2011 ABC News article entitled “Sarah Palin's
‘Crosshairs’ Ad Dominates Gabrielle Giffords Debate” (“the        Id. at 1721 (PX-174). Bennet responded around a half-hour
ABC Article”), which stated that “[n]o connection ha[d]           later that he would “look into this tomorrow” but that his
been made between [the crosshairs map] and the [Loughner]         “understanding was that in the [Loughner shooting] there
shooting.” Id. at 457 (PX-142); see id. at 454–55 (PX-141).       was a gun sight superimposed over [Giffords’] district; so far
                                                                  in [the Hodgkinson shooting] we don't know of any direct
Linda Cohn, an Editorial Board member, was the first person       threat against any of the congressmen on the field. That's not
to edit the initial draft. After making her edits, Cohn asked     to say any of it is ok, obviously, or that the violence in either
Bennet to look at the piece, and Bennet added his own             case was caused by the political rhetoric. But the incitement
revisions to the draft. Bennet's changes were substantial:        in this case seems, so far, to be less specific.” Id.
Williamson testified that Bennet “rewrote [her] editorial”
and, after receiving a complimentary email from a colleague       Douthat replied the next morning:
about the piece, Williamson responded that it “was mostly a
                                                                        [T]he point is that the map had no link, none at at
[Bennet] production” and that Bennet had been “super keen
                                                                        [sic] all, to Giffords’ [attempted] murder. People
to take it on.” App'x 238; id. at 1847 (PX-186); see also Sp.
                                                                        assumed a link initially – there was a Paul
App'x 34 (quoting DX-136 (redline reflecting Bennet's
                                                                        K[rugman] column that was particularly vivid in
changes)). Bennet's edits added the challenged statements.
                                                                        blaming Republicans – but the investigation
                                                                        debunked it. I think Loughner was instigated by
*4 After saving his revisions in Backfield, Bennet emailed
                                                                        a non-answer she'd given him at a town hall
Williamson, noting that he “really reworked this one” and
                                                                        about one of his theories of grammar, or his
apologizing for “do[ing] such a heavy edit.” App'x 1846
                                                                        obsession with lucid dreaming, or something.
(PX-163). Bennet also asked Williamson to “[p]lease take a
                                                                        His act had nothing to do with the political
look.” Id. Williamson responded seven minutes later that the
                                                                        climate, so far as anyone can tell. Whereas the
revised piece “[l]ook[ed] great.” Id. Several other Times
                                                                        Alexandria shooter seems to have had an explicit
employees under Bennet also reviewed the revised draft
                                                                        political motivation. So saying that Giffords was
prior to its publication and made minor edits, but none raised
                                                                        a case of incitement and this one isn't reads like
concerns regarding the challenged statements. See, e.g., id. at
                                                                        we're downplaying that motive, while strongly
478–84, 655–57. The editorial was published online on the
                                                                        implying that Loughner had right-wing
Times’ website at approximately 9:45 pm on June 14, 2017
                                                                        motivations that he simply didn't have.
and appeared in the Times’ print edition the next morning.
                                                                  Id.
Less than an hour after the editorial was published online,
Ross Douthat, a Times columnist, emailed Bennet to express        Douthat was not the only one who criticized the editorial.
serious concerns. He wrote:                                       After a swift public backlash, the Times revised the
                                                                  challenged statements and issued two corrections. The first
      I feel I would be remiss if I didn't express my
                                                                  correction was published on June 15, along with revisions to
      bafflement at the editorial that we just ran on
                                                                  the challenged statements. The correction read: “An earlier
      today's shootings and political violence. There
                                                                  version of this editorial incorrectly stated that a link existed
      was ... no evidence that ... Loughner was incited
                                                                  between political incitement and the 2011 shooting of
      by Sarah Palin or anyone else, given his extreme
                                                                  Representative Gabby Giffords. In fact, no such link was
      mental illness and lack of any tangible

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established.” Id. at 1483; see also Suppl. App'x 443 (PX-5).        Following remand, Palin filed the operative, first amended
The second correction, released the next day, clarified that        complaint, which added Bennet as a defendant. After
the map had overlaid crosshairs on Democratic congressional         discovery, the parties filed cross-motions for summary
districts, not photos of the representatives themselves. See        judgment. Palin's motion for partial summary judgment
Suppl. App'x 447 (PX-6).                                            asserted that she was not required to prove actual malice.
                                                                    The district court denied the motion, concluding that Sullivan
                                                                    controlled.

   B. The Complaint, Initial Dismissal, and First Appeal
                                                                    The defendants’ motion for summary judgment contended
In June 2017, Palin filed a defamation complaint against the
                                                                    that: (1) Palin was also required to prove a second form of
Times in federal court. The Times moved in the district court
                                                                    malice, which we refer to as “defamatory malice” (i.e., that
to dismiss for failure to state a claim. After the motion was
                                                                    Bennet intended or recklessly disregarded that ordinary
fully briefed, the district judge made the unusual decision to
                                                                    readers would understand his words to have the defamatory
hold an evidentiary hearing—with Bennet as the sole
                                                                    meaning alleged by Palin) and (2) no reasonable jury could
witness—to assess whether Palin had sufficiently pled
                                                                    find either defamatory malice or actual malice. The district
“actual malice” (i.e., that Bennet published the challenged
                                                                    court agreed that Palin was required to prove defamatory
statements either knowing they were false or with reckless
                                                                    malice, an issue of first impression in this circuit. It
disregard as to their falsity). Under New York Times Co. v.
                                                                    concluded, however, that there was sufficient evidence to
Sullivan, 376 U.S. 254, 283, 84 S.Ct. 710, 11 L.Ed.2d 686
                                                                    allow a rational juror to find both defamatory malice and
(1964) and its progeny, actual malice is a required element of
                                                                    actual malice. Thus, the district court denied the defendants’
a defamation claim when the plaintiff is a public figure. See
                                                                    motion, but it added defamatory malice into the jury
Harte-Hanks Commc'ns, Inc. v. Connaughton, 491 U.S. 657,
                                                                    instructions as a required element to find the defendants
665–66, 109 S.Ct. 2678, 105 L.Ed.2d 562 (1989) (explaining
                                                                    liable.
that Sullivan’s actual malice requirement applies not just to
public officials but also to public figures generally). Relying
                                                                    Before the trial began, the defendants filed a motion for
on Bennet's testimony from the hearing, the district court
                                                                    reconsideration requesting that the district court modify its
held that Palin had not sufficiently pled actual malice and
                                                                    order denying the defendants’ summary judgment motion to
dismissed the case with prejudice in August 2017,
                                                                    reflect New York's November 2020 amendment of N.Y.
subsequently denying Palin's motion for reconsideration and
                                                                    Civil Rights L. § 76-a(2) (“the Anti-SLAPP Statute”), which
leave to replead.
                                                                    required public-figure defamation plaintiffs to prove actual
                                                                    malice. See Gottwald v. Sebert, 197 N.Y.S.3d 694, 704, 40
*5 In 2019, we vacated the dismissal, holding that Palin had
                                                                    N.Y.3d 240, 220 N.E.3d 621 (2023). The district court
plausibly stated a defamation claim. See Palin v. New York
                                                                    granted the motion, holding that the amendment applied
Times Co., 940 F.3d 804, 817 (2d Cir. 2019) (“Palin I”). We
                                                                    retroactively such that “Palin's burden to prove actual malice
identified two errors by the district court. First, it improperly
                                                                    ... by clear and convincing evidence is not only required by
relied on matters outside the pleadings (specifically, Bennet's
                                                                    the First Amendment to the United States Constitution but
testimony at the evidentiary hearing) to decide the Times’
                                                                    also by New York State statutory law.” Sp. App'x 46.
motion to dismiss without converting that motion into one
for summary judgment. Id. at 811. Second, it impermissibly
                                                                    Finally, the defendants moved for a ruling that the
credited Bennet's testimony and weighed that evidence in
                                                                    challenged statements were not defamatory per se. See Celle
holding that Palin had not adequately alleged actual malice.
                                                                    v. Filipino Reporter Enters., 209 F.3d 163, 176 (2d Cir.
Id. at 814–15.
                                                                    2000) (noting that under New York law, a defamation
                                                                    plaintiff must either establish special damages or that the
                                                                    challenged statements were defamatory per se). The district
  C. Pre-Trial Motion Rulings                                       court orally denied the motion without prejudice, stating that
                                                                    it would “revisit [the issue] at the charging conference.”


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App'x 58. It later concluded that the challenged statements         App'x 47. The district court initially reserved judgment in
were “undoubtedly” defamatory per se under New York law.            order to hear closing arguments and receive further
Sp. App'x 54 n.24.                                                  submissions.

                                                                    On February 14, however, in the midst of jury deliberations,
                                                                    the district court ruled in favor of the defendants after
  D. Jury Trial and Judgment as a Matter of Law
                                                                    concluding that no reasonable jury could find actual malice
                                                                    by clear and convincing evidence. The district court's ruling
                 1. The Evidentiary Rulings                         denied the parts of the defendants’ Rule 50 motion directed
                                                                    at the “of and concerning” and material falsity elements of
Before the trial in February 2022, the defendants submitted
                                                                    Palin's claim and did not substantively address whether Palin
motions in limine to exclude certain evidence.6 As relevant to
                                                                    had failed to prove defamatory malice. The district court
this appeal, after trial began, the district court orally granted
                                                                    informed the parties of its ruling outside of the presence of
two of these requests, both of which it had earlier denied.         the jury.
First, it ruled that evidence relating to Bennet's brother,
Michael Bennet (including that Bennet's brother was a               The district judge stated that he would dismiss the complaint
Democratic U.S. Senator, that Bennet had campaigned for
                                                                    only after the jury returned its verdict, reassuring counsel
his brother in 2010 during “the same time period when the
                                                                    that the jury would not learn about his decision in favor of
[crosshairs] map was out,” and that two of the                      the defendants and thus would be capable of reaching an
congressmembers whose districts were targeted on the
                                                                    independent verdict. Before excusing the jurors that evening,
crosshairs map had endorsed Senator Bennet), was                    the district court reminded them to “turn away” from
inadmissible because it was irrelevant under Federal Rule of
                                                                    anything they saw “in the media about this case.” App'x
Evidence 402 and unfairly prejudicial under Rule 403. App'x
                                                                    1214.
584–86.

*6 Second, the district court ruled that certain articles about
the Loughner shooting published by The Daily Dish and The                   3. The Mid-Deliberation Jury Instruction
Wire (the “Excluded Articles”)—entities under the same
                                                                    After the jury had deliberated for about an hour the next
corporate umbrella as The Atlantic magazine, for which
                                                                    morning, it submitted the following note to the district judge:
Bennet served as editor-in-chief at the time of the Loughner
shooting—would be excluded as irrelevant under Rule 402,              Your Honor, Per your instructions we need to show “the
subject to reconsideration if Palin could establish additional        plaintiff proved that there was a high probability that Mr.
foundation for the articles’ admission. This decision was             Bennet actually doubted the truth of the challenged
never revisited, and the district court later reaffirmed its          statement ...” If a juror were able to make this inference
ruling.                                                               from a response by Mr. Bennet from a question put forth
                                                                      by the defense, would the fact the defense posed the
                                                                      question invalidate this inference, and can it contribute to
                  2. The Rule 50 Judgment                             the evidence brought forth by the plaintiff?

On February 10, 2022, following the close of evidence but           App'x 1579.
before jury deliberations began, the defendants moved under
Federal Rule of Civil Procedure 50(a) for judgment as a             After discussing the note with counsel, and over an objection
matter of law. The district court construed the motion to           by Palin's attorney, the district judge replied:
assert that Palin had not offered legally sufficient evidence to
                                                                      In response to your first inquiry, you are free to draw any
prove: (1) actual malice; (2) defamatory malice; (3) that the
                                                                      reasonable inference you choose to draw from any answer
challenged statements were “of and concerning” her; and (4)
that the challenged statements were materially false. See Sp.
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  received in evidence, regardless of which side posed the         The central issue in this appeal is whether the evidence at
  question to which the answer was given.                          trial was sufficient for Palin to prove that the defendants
                                                                   published the challenged statements with actual malice, as
  In response to your second inquiry, an answer given by           required for public-figure defamation plaintiffs. See Sullivan,
  Mr. Bennet and a reasonable inference drawn therefrom is         376 U.S. at 279–80, 84 S.Ct. 710 (introducing the actual
  not sufficient in itself to carry the plaintiff's burden of      malice rule for public officials); Harte-Hanks Commc'ns,
  showing by clear and convincing evidence that there was a        Inc., 491 U.S. at 665–66, 109 S.Ct. 2678 (stating that the
  high probability that Mr. Bennet actually doubted the truth      actual malice rule applies to public figures generally).
  of a challenged statement prior to publication, but it can       Proving actual malice requires showing that an allegedly
  contribute to the other evidence brought forth by the            defamatory statement was made “with knowledge that it was
  plaintiff.                                                       false or with reckless disregard of whether it was false or
                                                                   not.” Sullivan, 376 U.S. at 280, 84 S.Ct. 710. “[T]he concept
App'x 1580. After the jury received this response, it
                                                                   of ‘reckless disregard’ ” includes when a defendant acts
deliberated for about three more hours and then returned a
                                                                   “with a high degree of awareness of [the published
unanimous verdict of “not liable.” See App'x 1229–31.
                                                                   statement's] probable falsity” or “entertain[s] serious doubts
                                                                   as to [its] truth.” Harte–Hanks Commc'ns, Inc., 491 U.S. at
                                                                   667, 109 S.Ct. 2678 (internal quotation marks and citations
          4. Jurors’ Receipt of Push Notifications                 omitted).

*7 Later that evening, the district judge's law clerk
                                                                   Palin does not dispute her public-figure status but claims that
interviewed jurors to see if they had any problems                 the actual malice standard is either no longer good law or
understanding the court's legal instructions during trial. Such
                                                                   does not apply to this case. Both arguments are barred by the
interviews are the district judge's “uniform practice,” “so that
                                                                   “law of the case” doctrine because they were “ripe for review
improvements can be made in future cases.” App'x 1559. In
                                                                   at the time of [Palin's] initial appeal but ... nonetheless
these interviews, “several” jurors reported that, prior to
                                                                   foregone.” United States v. Frias, 521 F.3d 229, 234 (2d Cir.
rendering the verdict, they had learned that the court had         2008) (internal quotation marks omitted). Our mandate
made a Rule 50 determination in favor of the defendants via
                                                                   following the first appeal determined that Palin must show
“involuntarily received ‘push notifications’ on their              actual malice, see Palin I, 940 F.3d at 809, a decision which
smartphones.”7 Id. The law clerk reported this information to
                                                                   we decline to revisit, see United States v. Aquart, 92 F.4th
the district judge.
                                                                   77, 87 (2d Cir. 2024) (stating that an appeals court departs
                                                                   from the law of the case doctrine “sparingly and only when
The record does not establish how many jurors received such
                                                                   presented with cogent and compelling reasons” (internal
notifications or at what time before the jury returned its         quotation marks omitted)). Moreover, we do not view this
verdict the notifications were received. It is also unknown
                                                                   case as distinguishable from Sullivan and its progeny and are
from which news outlets jurors received push notifications
                                                                   thus bound by the doctrine of stare decisis to reject Palin's
and precisely what the notifications said.
                                                                   argument.

Palin subsequently filed post-trial motions—seeking a              *8 “When there are multiple actors involved in an
retroactive disqualification of the district court judge as of
                                                                   organizational defendant's publication of a defamatory
August 28, 2020 and the setting aside of all judgments he          statement, the plaintiff must identify the individual
had made since that date, reconsideration of the Rule 50
                                                                   responsible for publication of a statement, and it is that
judgment, and a new trial—which the district court denied.
                                                                   individual the plaintiff must prove acted with actual malice.”
                                                                   Dongguk Univ. v. Yale Univ., 734 F.3d 113, 123 (2d Cir.
                                                                   2013). In this case, the parties stipulated that it is Bennet's
II. Discussion                                                     state of mind that is relevant to determining whether there
                                                                   was actual malice in publishing the editorial.


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                                                                  F.3d 592, 597 (2d Cir. 2001) (quoting Reeves v. Sanderson
The plaintiff must prove actual malice by clear and               Plumbing Prods., Inc., 530 U.S. 133, 150, 120 S.Ct. 2097,
convincing evidence. Dalbec v. Gentleman's Companion,             147 L.Ed.2d 105 (2000)).
Inc., 828 F.2d 921, 927 (2d Cir. 1987). This means that “[i]t
is not enough for the plaintiff merely to assert ‘that the jury   The district court based its judgment for defendants solely on
might, and legally could, disbelieve the defendant's denial of    its conclusion that, as a matter of law, the trial evidence was
legal malice.’ ” Contemp. Mission, Inc. v. New York Times         insufficient to permit a jury to find that the defendants acted
Co., 842 F.2d 612, 621–22 (2d Cir. 1988) (quoting Anderson        with actual malice.8 We disagree with that conclusion. After
v. Liberty Lobby, Inc., 477 U.S. 242, 256, 106 S.Ct. 2505, 91     reviewing the record and making all reasonable inferences in
L.Ed.2d 202 (1986) (alterations omitted)). Rather, a plaintiff    Palin's favor as the nonmoving party, we conclude that there
must offer some degree of “concrete evidence from which a         exists sufficient evidence, detailed below, for a reasonable
reasonable juror could return a verdict in h[er] favor” on the    jury to find actual malice by clear and convincing evidence.
question of actual malice. Id. at 621 (internal quotation
marks omitted). We have held, however, that such malice
may be proven by inferential and circumstantial evidence
                                                                                     1. Bennet's Testimony
“because it is a matter of the defendant's subjective mental
state, revolves around facts usually within the defendant's       *9 During cross-examination by the defense, defendant
knowledge and control, and rarely is admitted” by the             Bennet, who was called as a witness by the plaintiff, stated
defendant. Dalbec, 828 F.2d at 927.                               what could be plausibly viewed as an admission: “I didn't
                                                                  think then and don't think now that the [crosshairs] map
On appeal, Palin attacks both the Rule 50 decision and the        caused Jared Loughner to act.”9 App'x 806. But the district
jury verdict. She attacks the former on the basis that the        court dismissed out of hand the possibility that Bennet's
district court erroneously disregarded or discredited her         statement could be viewed as an admission supporting a
evidence of actual malice and improperly substituted its own      finding of actual malice. The district court concluded that
judgment for that of the jury. She requests vacatur of the        such an interpretation was “not a reasonable reading of
jury's verdict on the grounds that multiple prejudicial errors    Bennet's answer and ... would be inconsistent with [his]
during trial affected that verdict. Finally, she seeks the        testimony overall.” Sp. App'x 69. Crediting Bennet's
disqualification of the district judge.                           explanation that he did not intend to convey in the editorial
                                                                  that the crosshairs map directly caused Loughner to act, the
For the reasons that follow, we agree with Palin that both the    district court interpreted Bennet's “admission” to be merely a
judgment for defendants as a matter of law and the jury           statement that the question of whether the crosshairs map
verdict must be vacated. We do not find it necessary to           spurred Loughner's attack never entered his mind. Id.
remand the case to a different district judge.
                                                                  But in deciding a Rule 50 motion, a district court may not
                                                                  credit the movant's self-serving explanations or adopt
   A. The Rule 50 Judgment                                        possible exculpatory interpretations on his behalf when
We review a district court's ruling on “a Rule 50 motion ...      interpretations to the contrary exist. Furthermore, the district
de novo, construing all facts in favor of the nonmoving           court was plainly incorrect to conclude that Bennet's
party.” Runner v. N.Y. Stock Exch., Inc., 568 F.3d 383, 386       testimony cannot “reasonabl[y]” be understood to “indicate[
(2d Cir. 2009). Judgment as a matter of law should be             ] that Bennet did not believe that what he was writing was
granted only when “a party has been fully heard on an issue”      true.” Id. Bennet's statement—that he “didn't think,” when
and there is no legally sufficient evidentiary basis for a        revising the editorial, that “the [crosshairs] map caused Jared
“reasonable jury” to “find for the party on that issue.” Fed.     Loughner to act”—can permissibly be read to suggest that
R. Civ. P. 50(a)(1). The court considering a Rule 50 motion       Bennet entertained serious doubts as to his assertion that the
“may not make credibility determinations or weigh the             map and shooting had a “clear” and “direct” “link.” App'x
evidence.” Harris v. Niagara Mohawk Power Corp., 252              806; see Milkovich v. Lorain J. Co., 497 U.S. 1, 20 n.7, 110

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S.Ct. 2695, 111 L.Ed.2d 1 (1990) (explaining that the             testified that, although editorial writers were “the first line of
statement, “I think Jones lied,” may establish malice if “the     fact-checking” for the pieces they drafted, when “someone
speaker really did not think Jones had lied but said it           rewrote a draft” that someone else prepared, the person who
anyway”). The jury may ultimately accept the district court's     did the rewrite had “primary responsibility for fact-checking
understanding of Bennet's words—but, as we previously             the portion that they rewrote.” App'x 177–78. A jury could
cautioned, “it is the jury that must decide.” Palin I, 940 F.3d   reasonably conclude that Bennet would therefore have been
at 815.                                                           responsible for fact-checking the sentence containing the
                                                                  hyperlink to the ABC Article because, although his revisions
                                                                  to that sentence were minor, his revisions to the preceding
                                                                  sentence—where he added that “the link to political
               2. The ABC Article Hyperlink
                                                                  incitement was clear”—substantially changed the nature of
The ABC Article hyperlinked in Williamson's initial draft—        the sentence that contained the hyperlink. See Sp. App'x 34
which remained in the article following Bennet's edits—           (quoting DX-136). A jury could also reasonably believe that
unequivocally states that “[n]o connection has been made          such fact-checking obligations would include clicking on and
between [the crosshairs map] and the [Loughner] shooting.”        reading through articles hyperlinked in the edited portions of
Suppl. App'x. 457 (PX-142). Had Bennet read this article, its     an editorial draft to ensure the accuracy of any changes. And,
contents would at a minimum allow a rational juror to             thus, it could infer that it was more likely than not that
plausibly infer that Bennet recklessly disregarded the truth      Bennet read the ABC Article as part of his editing duties.
when he published the challenged statements.

The district court erroneously ignored this potential                            3. Prior Times Opinion Pieces
inference, in part because it credited Bennet's denial that he
had ever clicked the hyperlink and read the article. But a        *10 Bennet admitted at trial that, while conducting his
district court may not make credibility determinations when       editorial research, he “must have read” the three prior Times
considering a Rule 50 motion and, “although the court             opinion pieces on the Loughner shooting that Lett sent to
should review the record as a whole, it must disregard all        him and that he sent or had Lett send to Williamson (namely,
evidence favorable to the moving party that the jury is not       “No One Listened to Gabrielle Giffords,” “Bloodshed and
required to believe.” Legg v. Ulster Cnty., 979 F.3d 101, 114     Invective in Arizona,” and “As We Mourn”). App'x 694, 719;
(2d Cir. 2020) (alteration omitted) (quoting Reeves, 530 U.S.     see id. at 692–94, 718–19. These articles were received into
at 150–51, 120 S.Ct. 2097). Here, the jury was not required       evidence, but the district court concluded that they
to believe Bennet's testimony, which could be viewed as           “provide[d] no basis for finding that Bennet knew or
self-serving. The district court's acceptance of that testimony   suspected that his revision introduced false statements of fact
in the jury's stead improperly infringed on the jury's            into the [e]ditorial” because the articles do not “contradict
exclusive role.                                                   the facts asserted in the [c]hallenged [s]tatements.” Sp.
                                                                  App'x 61; see id. at 60–62. We disagree. The articles can
The district court also erred in concluding that Palin            also be plausibly read as casting significant doubt on any
“adduced no affirmative evidence” from which a jury could         link between the Loughner shooting and the crosshairs map.
presume that Bennet read the ABC Article. Sp. App'x 64.
Under our caselaw, inferential and circumstantial evidence        For example, in “As We Mourn,” President Obama's denial
can satisfy the “affirmative evidence” requirement set forth      that political incivility caused the shooting, coupled with
in Anderson. See Dalbec, 828 F.2d at 927 (inferential             Palin's implied condemnation of any assertion that Loughner
evidence may be used to prove actual malice); Anderson,           took inspiration from her, could suggest to a reasonable juror
477 U.S. at 257, 106 S.Ct. 2505 (“We repeat, however, that        that the crosshairs map was unrelated to the attack. App'x
the plaintiff, to survive the defendant's motion [for summary     1712–13 (PX-135). Although “No One Listened to Gabrielle
judgment], need only present evidence from which a jury           Giffords” stated that the fact that Loughner had “no coherent
might return a verdict in his favor.”). Here, Williamson          ideological agenda[ ] does not mean that a climate of

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antigovernment hysteria ha[d] no effect on him,” its             before the [e]ditorial was written.” Sp. App'x 66; see id. at
disclosure that “[w]e have no idea” whether Loughner saw         66–68. Such crediting of Bennet's testimony in resolving a
the crosshairs map can reasonably be viewed as undermining       Rule 50 motion was error. See Harris, 252 F.3d at 597.
Bennet's assertion that there was a was a “clear” and “direct”
“link” between the shooting and the map. Compare id. at          *11 Moreover, the district court's determination that “Palin
1705–07 (PX-133), with Suppl. App'x 440 (PX-4).                  offered no admissible evidence that would undermine
                                                                 Bennet's testimony” on this issue, Sp. App'x 66, ignored
Finally, “Bloodshed and Invective in Arizona” not only           plausible inferences tending to support the conclusion that
reiterates that Loughner does not fall into “usual ideological   Bennet would have known when he revised the editorial that
categories” but can be seen as directly contradicting the        there was no link between the crosshairs map and the
challenged statements by its pronouncement that “[i]t is         Loughner shooting. For example, the Rule 50 decision gave
facile and mistaken to attribute [the Loughner shooting]         no weight to the fact that Bennet was a well-read journalist
directly to Republicans or Tea Party members.” App'x 1710        and a long-time senior editor, whose job required him to be
(PX-134). The district court admitted this “tension” but         generally aware of current events. At the time of the
discounted it by chalking the difference up to “statements of    Loughner shooting in January 2011, which Bennet
opinion” and “arguments made by the[ ] pieces” rather than       acknowledged was “a big story” with “blaring headlines,”
“contradictions in their presentations of the relevant facts.”   Bennet was the editor-in-chief of The Atlantic. App'x 704.
Sp. App'x 62–63. But as the Supreme Court has noted,             Bennet acknowledged that “keep[ing] up” with “the
“expressions of ‘opinion’ may often imply an assertion of        competition” by reading their articles was “really important
objective fact.” Milkovich, 497 U.S. at 18, 110 S.Ct. 2695.      in [his] job” at The Atlantic and that he “regularly read[ ]”
And a reasonable juror could easily interpret “Bloodshed and     “or at least browsed” a “long list of publications.” App'x
Invective in Arizona” as indicating that blaming Palin (or any   703. A rational juror could infer from these facts that Bennet
other Republican) for the Loughner shooting was “mistaken”       read one or more articles around the time of the Loughner
as a matter of fact and not simply as a matter of opinion.       shooting that discredited any link between the shooting and
                                                                 the crosshairs map.
In sum, both how to interpret and what weight to assign to
these articles must be left to the jury. See Legg, 979 F.3d at   The district court opinion similarly failed to consider
114. Judgment for defendants as a matter of law was              evidence of Bennet's recall abilities. Bennet's co-worker
unwarranted because a reasonable jury could believe              testified that she “observed him demonstrating an ability to
(although it would not be required to do so) that Bennet         recall articles that had been written several years ago,” which
acted with “reckless disregard of the truth” by publishing the   could indicate to a rational juror that Bennet had a strong
challenged statements after reading the articles. Church of      memory for articles that he had read. App'x 495–96. Bennet
Scientology Int'l v. Behar, 238 F.3d 168, 173 (2d Cir. 2001).    also testified to recalling at least some details about the
                                                                 Loughner shooting coverage: he said he had read articles at
                                                                 the time that determined that Loughner “was deranged” and
                                                                 “that there had been a debate ... after that shooting about ...
               4. Possible Prior Knowledge
                                                                 exactly this issue, about, you know, inciting rhetoric.” App'x
The district court acknowledged that “Bennet theoretically       705, 787–88. A reasonable juror could find that
could have had prior knowledge regarding the relationship—       remembering these details but not any that contradicted the
or lack thereof—between the crosshairs map and the               challenged statements is more indicative of deliberately
[Loughner] shooting” outside of any research he conducted        selective recall than of true memory loss.
for the editorial. Sp. App'x 66. Its conclusion, however, that
“the record belies this possibility,” relied substantially on    From the foregoing evidence, it can be plausibly inferred that
Bennet's self-serving testimony indicating that “he was not      Bennet both consumed and remembered media coverage
aware of the details of the Loughner case and that he did not    discrediting any link between the Loughner shooting and the
recall the controversies surrounding the crosshairs map          crosshairs map. There is no way for us to assess what weight,


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if any, a jury might ascribe to this circumstantial evidence.     editorial. App'x 605 (testimony of Linda Cohn). It could also
But it was error for the district court to both credit Bennet's   find that Bennet's attempted apology, given in response to a
testimony on this issue and to ignore contrary evidence in        reporter's question, was made for public relations purposes or
resolving the Rule 50 motion.                                     to decrease the likelihood Palin would sue rather than out of
                                                                  remorse for an inadvertent error. Nor do Bennet's emails to
Finally, as discussed later in Section II(B)(2), infra, the       Douthat foreclose the possibility that Bennet acted with
district court also erred in excluding—both from its Rule 50      actual malice. They could even support an inference of actual
analysis and at trial—additional circumstantial evidence of       malice, because Bennet's choice to wait until the next
Bennet's potential prior knowledge. Namely, it improperly         morning to address Douthat's serious concerns over the
rejected: (1) the Excluded Articles, which Palin offered to       editorial could be viewed as an attempt to wait out the
show that Bennet “knew that the allegations of a link             controversy. See App'x 1721 (PX-174).11 Viewed in the light
between Loughner and the [crosshairs] map had been                most favorable to Palin, none of this evidence (nor any other
discredited,” Sp. App'x 67 n.32, and (2) evidence regarding       evidence cited by the district court) is so “incompatible” with
Bennet's relationship with his brother, a Democratic U.S.         actual malice as to permit a ruling of non-liability as a matter
Senator (“Senator Bennet”), which Palin argued “could             of law.
establish bias” and “would have made ... Bennet more likely
to have been aware of the [crosshairs] map” and any               In sum, taking the evidence as a whole, we conclude that
controversy surrounding it, see id. at 67 n.31.                   there is a “legally sufficient evidentiary basis” for a
                                                                  reasonable jury to find for the non-movant plaintiff on the
                                                                  question of actual malice, which means that the question
                                                                  must be left to a jury. Fed. R. Civ. P. 50(a)(1); Harris, 252
                5. “Incompatible” Evidence
                                                                  F.3d at 597. We therefore vacate the Rule 50 judgment “to
In addition to improperly discounting Palin's evidence, the       avoid judicial usurpation of the jury function.” Mariani, 725
district court also impermissibly viewed Bennet's evidence in     F.2d at 865. Of course, we take no position on the ultimate
the light most favorable to him. For example, it deemed           merits of Palin's claim. Our analysis makes all reasonable
“incompatible” with the conclusion that Bennet acted with         inferences in Palin's favor, as we must in addressing the Rule
actual malice (1) Bennet's compliance with the Times’             50 decision, but that does not mean that jurors will
standard editing process, (2) his attempted apology to Palin,10   necessarily draw the same inferences.
and (3) his post-publication exchanges with Ross Douthat
and other colleagues. Sp. App'x 72; see id. at 72–78. In so
doing, the district court failed to draw all reasonable                               6. Defamation Per Se
inferences in Palin's favor and avoid drawing inferences in
the defendants’ favor. See Runner, 568 F.3d at 386 (all facts     The defendants also argue that even if we find sufficient
should be construed in favor of the nonmoving party);             evidence of actual malice as a matter of law, we should
United States v. Mariani, 725 F.2d 862, 865 (2d Cir. 1984)        nonetheless rule for them because Palin was required, but
(“The court should not substitute its own determination of        failed, to prove special damages—i.e., “the loss of something
the credibility of witnesses, the weight of the evidence and      having economic or pecuniary value which must flow
the reasonable inferences to be drawn for that of the jury.”).    directly from the injury to reputation caused by the
                                                                  defamation,” Celle, 209 F.3d at 179 (internal quotation
*12 Of course, the evidence cited by the district court could     marks omitted). But here we agree with the district court's
be construed in Bennet's favor and a jury would be free to do     conclusion that Palin was not, in fact, obliged to prove
so. But the same evidence could also be reasonably                special damages because the challenged statements were
interpreted in a way that does not support Bennet's case. A       defamatory per se, meaning that they tended “to expose the
rational jury could disbelieve that the Times’ editing process    plaintiff to public contempt, ridicule, aversion or disgrace, or
could do much to restrain “the boss” of the editorial team,       induce an evil opinion of [her] in the minds of right-thinking
who had “ultimate decision-making authority” over the             persons, and to deprive [her] of their friendly intercourse in

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society.” Sp. App'x 54 n.24 (quoting Rinaldi v. Holt,              judgment” need not be raised at trial to preserve issue for
Rinehart & Winston, Inc., 42 N.Y.2d 369, 379, 397 N.Y.S.2d         appeal).
943, 366 N.E.2d 1299 (1977)); see Rinaldi, 42 N.Y.2d at
379, 397 N.Y.S.2d 943, 366 N.E.2d 1299 (concluding that            After applying these standards to each of the five claims of
defamatory per se statements in any “written or printed            error, we conclude that four of them—the evidentiary
article” are actionable without alleging special damages           rulings, the defamatory malice requirement, the mid-
(internal quotation marks omitted)).12                             deliberation actual malice instruction, and some jurors’
                                                                   receipt of push notifications regarding the district court's
                                                                   Rule 50 decision—necessitate a new trial. We address each
                                                                   of the five trial issues in turn.
   B. The Jury Trial
Having determined that the defendants were not entitled to
judgment as a matter of law by the district court, we must
now assess the validity of the jury's verdict. Palin argues that                      1. Voir Dire Proceeding
four errors prejudiced the trial's outcome: (1) an insufficient
voir dire process; (2) the improper exclusion of evidence; (3)     Palin claims that the district court's voir dire proceeding was
the requirement that the jury must find defamatory malice to       legally insufficient. Specifically, she faults the district judge
hold the defendants liable; and (4) the mid-deliberation jury      for declining to ask her proposed questions about the news
instruction on actual malice. Jurors’ receipt of push              sources to which the potential jurors subscribed. Palin asserts
notifications during their deliberations alerting them to the      that these questions were intended to reveal possible bias
district court's Rule 50 decision in the Times’ favor may also     (e.g., by identifying who subscribed to the Times and
have prejudiced the trial verdict. Although Palin likely           determining what “extra-judicial information” about the case
forfeited this issue by failing to sufficiently argue it on        potential jurors may have encountered). Appellant's Br. at
appeal, we nonetheless exercise our discretion to review it        37.
because it involves a purely legal (and easily resolved)
question on an important subject, and because a new trial is       District courts have “broad discretion” in “deciding what
required in any event.                                             questions to ask prospective jurors.” Tsarnaev, 595 U.S. at
                                                                   313, 142 S.Ct. 1024. A court's failure to ask certain voir dire
*13 The district court's voir dire proceeding, evidentiary         questions must render a trial “fundamentally unfair” for
rulings, and decision not to order a new trial on account of       reversal to be appropriate. See Mu'Min v. Virginia, 500 U.S.
the push notifications are reviewed for an abuse of                415, 426, 111 S.Ct. 1899, 114 L.Ed.2d 493 (1991). As a
discretion. See United States v. Tsarnaev, 595 U.S. 302, 313,      result, reversal on these grounds is extremely rare. See
142 S.Ct. 1024, 212 L.Ed.2d 140 (2022) (voir dire); United         United States v. Bright, No. 20-3792, 2022 WL 53621, at *1
States v. Pepin, 514 F.3d 193, 202 (2d Cir. 2008)                  (2d Cir. Jan. 6, 2022) (summary order) (noting that the
(evidentiary rulings); Manley v. AmBase Corp., 337 F.3d            Second Circuit had “never reversed a conviction for the
237, 251 (2d Cir. 2003) (decision whether to order new trial       failure to ask a particular question of prospective jurors”);
after jurors exposed to extrinsic information). “Either an         but see United States v. Nieves, 58 F.4th 623, 636–37 (2d
error of law or a clear error of fact may constitute an abuse      Cir. 2023) (holding that district court abused its discretion by
of discretion.” Schering Corp. v. Pfizer Inc., 189 F.3d 218,       not asking prospective jurors about gang-related bias). We
224 (2d Cir. 1999) (internal quotation marks omitted).             have identified three limited circumstances under which “a
Because Palin objected at or before trial to the inclusion of a    voir dire may be so insufficient as to call for a reversal.”
defamatory malice requirement and to the content of the            United States v. Lawes, 292 F.3d 123, 129 (2d Cir. 2002).
mid-deliberation actual malice instruction, we review these        Viewed as a whole, the record must show either:
jury charges de novo. See Ashley v. City of New York, 992
                                                                         (i) a voir dire so demonstrably brief and lacking
F.3d 128, 142 (2d Cir. 2021); see also Dupree v. Younger,
                                                                         in substance as to afford counsel too little
598 U.S. 729, 736, 143 S.Ct. 1382, 215 L.Ed.2d 636 (2023)
                                                                         information even to draw any conclusions about
(holding that “purely legal issue resolved at summary

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      a potential juror's general outlook, experience,            personal feelings about Palin, the district court excused these
      communication skills, intelligence, or life-style;          persons. The district court also ensured that neither the
      (ii) a failure to inquire about, or warn against, a         potential jurors nor their immediate family members had
      systematic or pervasive bias, including one that            personal relationships with the parties, attorneys, witnesses,
      may be short-lived but existent at the time of              or other relevant figures in the case.
      trial, in the community that would have been
      cured by asking a question posed by a party; or             Although it would have been prudent to make a more
      (iii) a record viewed in its entirety suggesting a          fulsome inquiry into jurors’ potential biases given the highly
      substantial possibility that a jury misunderstood           public nature of the case, the district court was not required
      its duty to weigh certain evidence fairly that              to “question[ ] prospective jurors ... about the specific
      would have been clarified by asking a requested             contents of any news reports they may have seen.” United
      voir dire question.                                         States v. Rahman, 189 F.3d 88, 121 (2d Cir. 1999) (per
                                                                  curiam). It needed only to confirm that potential jurors had
Id. (citations omitted). Only the first and second of these       not formed an opinion about the case in advance that would
possibilities are presented here.                                 prevent them from being impartial. See id. The district judge
                                                                  met that minimum requirement by asking whether any of the
*14 First, while the voir dire proceeding in this case was        prospective jurors had “heard or seen anything about this
atypically limited, it was not “so demonstrably brief” that it    case in the media” and confirming that those who had been
prevented counsel from “draw[ing] any conclusions about a         so exposed would not have a problem “put[ting] that out of
potential juror[ ].” Id. (emphasis added). The district court     [their] mind[s]” and “being ... fair and impartial juror[s].”
questioned prospective jurors about what they and their           App'x 2153. When a potential juror voiced doubts that he
partners did for a living and what county or borough they         could be impartial given what he had read about the case in
lived in. Although minimal to the point of being borderline       the news, the district court excused him.
insufficient, these questions provided at least some context
for counsel to draw upon. While the additional voir dire          In sum, even if the district court's voir dire proceeding might
questions that Palin proposed “might have been helpful to         be deemed deficient under a more demanding standard of
[her] in deciding how to exercise [her] peremptory                review, Palin does not clear the high bar for reversal we
challenges, we conclude that [their] absence did not render       apply to voir dire challenges. Thus, a new trial is not
[the] trial ‘fundamentally unfair.’ ” United States v. Miller,    warranted on this ground.
752 F. App'x 51, 53 (2d Cir. 2018) (summary order) (quoting
Mu'Min, 500 U.S. at 426, 111 S.Ct. 1899).

Second, the district court did not entirely “fail[ ] to inquire                      2. Evidentiary Rulings
about” prospective jurors’ potential biases. Lawes, 292 F.3d
                                                                  Palin next argues that reversal is required because the district
at 129. A trial court can meet its baseline obligation to
                                                                  court erroneously excluded certain evidence she sought to
uncover bias by “ask[ing] generalized questions about jurors’
                                                                  offer at trial, contravening what she characterizes as our
ability to serve impartially” after “present[ing] sufficient
                                                                  “[m]andate” in Palin I. Appellant's Br. at 10, 38. This
context about the case for jurors’ answers ... to actually
                                                                  evidence falls into two general categories, detailed in Section
convey [pertinent] information.” Nieves, 58 F.4th at 639. The
                                                                  I(D)(1), supra: (1) the Excluded Articles, published by The
district court did so here by providing the jury pool with a
                                                                  Daily Dish and The Wire,13 and (2) certain evidence related
short description of the case—highlighting that it involved
                                                                  to Bennet's brother, Senator Michael Bennet. We disagree
Palin and the Times—and then inquiring whether anything
                                                                  with Palin that admitting this evidence was required by our
about its description made individuals feel as if they could
                                                                  prior opinion but agree that excluding the evidence was an
not “serve as ... fair and impartial juror[s].” App'x 2148; see
                                                                  abuse of discretion. These exclusions affected Palin's
also id. at 2152 (specifying Bennet as an additional
                                                                  substantial rights, warranting a new trial.
defendant). When several potential jurors responded that
they likely could not evaluate the case fairly due to their

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    a. Palin I’s Mandate Does Not Control This Issue                the district judge clearly stated that he had “ruled in [the
                                                                    defendants’] favor,” App'x 594, the Djibo district court
*15 Palin misunderstands Palin I’s mandate. “[A] mandate is         “reserved decision,” 850 F. App'x at 57.
controlling only ‘as to matters within its compass.’ ” New
Eng. Ins. Co. v. Healthcare Underwriters Mut. Ins. Co., 352         Having concluded that the articles’ exclusion is reviewable,
F.3d 599, 606 (2d Cir. 2003) (quoting Sprague v. Ticonic            we turn now to the ruling itself. Under Rule 402, relevant
Nat'l Bank, 307 U.S. 161, 168, 59 S.Ct. 777, 83 L.Ed. 1184          evidence, which is evidence that has “any tendency” to make
(1939)). In making its evidentiary rulings, the district court      a material fact “more or less probable than it would be
was not bound by our discussion of evidence in Palin I,             without the evidence,” Fed. R. Evid. 401, is presumptively
which addressed a different legal question.                         admissible. See Fed. R. Evid. 402; see also Daubert v.
                                                                    Merrell Dow Pharms., 509 U.S. 579, 587, 113 S.Ct. 2786,
Our mandate in Palin I was limited to reversing the Rule            125 L.Ed.2d 469 (1993) (stating that Rule 402's “basic
12(b)(6) dismissal of Palin's complaint. See Palin I, 940 F.3d      standard of relevance ... is a liberal one”). Sometimes the
at 817. In order to explain how Palin's complaint alleged a         relevancy of evidence depends upon the existence of a
plausible defamation claim, Palin I offered examples of             particular preliminary fact. This is referred to as “conditional
evidence that, if admissible, might be favorable to Palin at        relevancy.” See Fed. R. Evid. 104(b) advisory committee's
trial. No such admissibility rulings were in question at that       note to 1972 proposed rule (internal quotation marks
stage of the case, however, and none were made.                     omitted). In such cases, “proof must be introduced sufficient
                                                                    to support a finding that the [conditional] fact ... exist[s].”
                                                                    Fed. R. Evid. 104(b).
                  b. The Excluded Articles
                                                                    But it is not the province of judges to ultimately weigh this
At trial, Palin attempted to introduce into evidence articles       proof, lest “the functioning of the jury as a trier of fact ... be
published by The Wire and The Daily Dish that disputed the          greatly restricted and in some cases virtually destroyed.”
existence of any link between the crosshairs map and the            Fed. R. Evid. 104(b) advisory committee's note to 1972
Loughner shooting, as well as a list of dozens of articles on       proposed rule; see also Huddleston v. United States, 485
The Atlantic’s website that referenced Jared Loughner. When         U.S. 681, 690, 108 S.Ct. 1496, 99 L.Ed.2d 771 (1988) (“In
the district court excluded the articles from the evidence          determining whether [a party] has introduced sufficient
presented to the jury, it stated that it would reconsider its       evidence to meet Rule 104(b), the trial court neither weighs
ruling if Palin established additional foundation for the           credibility nor makes a finding that the [party] has proved
articles’ admission. The defendants argue that because no           the conditional fact ....”). Instead, judges are assigned only a
such reconsideration occurred, there is “no [final] decision        limited gatekeeping function: they must “examine[ ] all the
for this [c]ourt to review.” Appellees’ Br. at 44. But the          evidence in the case and decide[ ] whether the jury could
district court's offer to reconsider did not affect the exclusion   reasonably find the conditional fact ... by a preponderance of
ruling. It did nothing more than reflect the district court's       the evidence.” Huddleston, 485 U.S. at 690, 108 S.Ct. 1496
power to reconsider before final judgment. See Fed. R. Civ.         (emphasis added). When conducting this examination, “the
P. 54(b). After the district court entered the final judgment,      trial court must consider all evidence presented to the jury”
its evidentiary decisions (along with all other interlocutory       because “[i]ndividual pieces of evidence, insufficient in
rulings) merged into that judgment and became subject to            themselves to prove a point, may in cumulation prove it.” Id.
appellate review. See Marquez v. Silver, 96 F.4th 579, 581          at 690–91, 108 S.Ct. 1496 (internal quotation marks
(2d Cir. 2024).                                                     omitted).

The sole case cited by the defendants in support of their           *16 Here, the Excluded Articles’ relevance was conditioned
argument—United States v. Djibo, 850 F. App'x 52 (2d Cir.           on whether Bennet read and remembered them, which was a
2021) (summary order)—is both non-precedential and                  separate jury question. If Bennet was aware, when he drafted
significantly distinguishable. Unlike in this case, in which        the challenged statements, that these articles disputed a


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connection between the Loughner shooting and the                  supra, there was evidence to the effect that Bennet generally
crosshairs map, it would make it more probable that he            had a good memory for articles that he had read. And news
drafted those statements while knowing they were false or         about the Loughner shooting might have been particularly
while recklessly disregarding their falsity. After carefully      memorable for Bennet, given: (1) his personal belief that the
reviewing the record, we hold that the district court abused      shooting “was a big story,” id. at 97, and (2) his possible
its discretion in concluding that a reasonable juror could not    interest in the subject of gun control which, Palin claims, is
find by a preponderance of the evidence that Bennet read and      evidenced by the fact that Bennet was involved in a forum on
remembered the Excluded Articles.                                 the topic hosted by The Atlantic in 2014. As mentioned
                                                                  earlier, Bennet testified that he recalled at least some details
First, the district court's factual finding that Palin never      about the media coverage following the Loughner shooting.
provided “any ... evidence that Bennet had ... read the           See Section II(a)(4), supra. A rational juror could conclude
[Excluded Articles],” Sp. App'x 67–68 n.32, was clearly           that Bennet also recalled the debunking of any connection
erroneous. Bennet's own deposition testimony indicated that       between the shooting and the crosshairs map but was
he regularly engaged with the articles’ publishers, The Daily     economical about the truth out of self-interest. See Dalbec,
Dish and The Wire, around the time of the Loughner                828 F.2d at 927 (noting that actual malice “rarely is
shooting. Although he lacked editorial control over The           admitted”).
Daily Dish, its articles were nonetheless published on The
Atlantic’s website while Bennet served as The Atlantic’s          Second, the district court committed an error of law when it
editor-in-chief.14 See Dist. Ct. Dkt. 109-4 (Deposition of        accepted Bennet's testimony denying awareness of the
James Bennet (“Bennet Dep.”)) at 48–49, 53; see also id. at       Excluded Articles.16 Determining whether Bennet's denials
42 (“[T]he editor who oversaw [The Atlantic’s] website ...        were credible and weighing Bennet's evidence against Palin's
reported to [Bennet].”); id. at 49 (The Atlantic “took            was the jury's responsibility. See Huddleston, 485 U.S. at
responsibility for the ... digital production of the site” on     690, 108 S.Ct. 1496. It was not for the court to believe
which The Daily Dish’s articles were published). Bennet not       Bennet's denial, much less rely upon it. The district court
only “regular[ly] read[ ]” that website, both out of personal     was tasked with answering only a limited threshold question:
interest and for professional purposes, id. at 123, but           whether Palin introduced “evidence sufficient to support a
specifically indicated that he was a “huge admirer” of The        finding that” Bennet read and recalled the articles. Id.
Daily Dish editor's “writing and thinking,” id. at 47. In fact,   (quoting Fed. R. Evid. 104(b)). As we have just indicated,
Bennet was partially responsible for The Daily Dish’s             the answer to that narrow question is yes—and the district
migration onto The Atlantic’s site. See id. at 47–48. The         court erred in holding otherwise.
Wire, which primarily served to aggregate news articles
published by other sites, was a “sister site” of The Atlantic.    The district court's abuse of discretion alone is not enough to
Id. at 124–25. Bennet was familiar with The Wire’s site and       warrant a new trial, however: it must also have “affect[ed] a
was subscribed to its email list, at least as of November 28,     party's substantial rights.” Schering Corp., 189 F.3d at 224.
2011.15 See id. at 125; Dist. Ct. Dkt. 109-139 (Bennet Dep.       “This occurs when, for example, a district court excludes a
Ex. 226). The specific article from The Wire that Palin was       party's primary evidence in support of a material fact, and
prevented from introducing at trial, titled “Ten Days That        failure to prove that fact defeats the party's claim.” Id.
Defined 2011,” was published a month later, on December
29, 2011, and Bennet testified at his deposition that “[i]t's     Because actual malice “is a matter of the defendant's
possible” that he read that article. Bennet Dep. at 128.          subjective mental state,” proving it often requires inferential
Viewed cumulatively, there was sufficient evidence from           or circumstantial evidence. Dalbec, 828 F.2d at 927. The
which a reasonable juror could infer that Bennet read the         content of the Excluded Articles is such that—were a jury to
Excluded Articles.                                                find that Bennet both read and remembered the articles (as a
                                                                  reasonable jury could, but would not be required, to find)—a
*17 A reasonable juror could also infer that Bennet               strong inference of actual malice could be drawn. “Ten Days
remembered those articles. As discussed in Section II(a)(4),      That Defined 2011” bemoaned “people rushing to point at ...


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Palin's infamous [crosshairs] map” after the Loughner               issue back to the district court since “remand ... [was]
shooting, concluding that “[i]n truth, Loughner is clinically       required in any event”). We therefore excuse Palin's
insane and this was not really about politics at all.” Dist. Ct.    forfeiture and turn to the merits of the district court's ruling.
Dkt. 109-91 (Bennet Dep. Ex. 153). Although it is unclear
from the record exactly which articles from The Daily Dish          First, the district court abused its discretion by excluding all
were excluded at trial, the district court indicated in its Rule    evidence regarding Bennet's brother as irrelevant under Rule
50 judgment that those articles can similarly be read as            402. In 2010, the same year that the crosshairs map was
“ultimately discredit[ing] that the [crosshairs] map played a       released, Bennet's brother was running for re-election as a
role in [the Loughner shooting].” Sp. App'x 67 n.32.                Democratic U.S. Senator. The map targeted the districts of
                                                                    two House Democrats who endorsed Senator Bennet;
The district court's exclusion of these articles was error, and     Palin—a Republican and known pro-gun advocate—
it affected Palin's substantial rights by substantially limiting    endorsed Senator Bennet's opponent. Bennet was involved in
the relevant inferences that she and the jury could draw in         his brother's 2010 re-election bid, editing speeches and
support of a key element of her claim, warranting a new trial.      traveling with his brother for the last two weeks of the
                                                                    campaign. Two days prior to the Loughner shooting, a man
                                                                    threatened to shoot up Senator Bennet's offices, an incident
                                                                    of which James Bennet could have been aware. See Dist. Ct.
  c. The Excluded Evidence Regarding Senator Michael
                                                                    Dkt. 41-34 at 70 (transcript of James Bennet testimony at
                        Bennet
                                                                    pre-discovery hearing in this case acknowledging
*18 Turning to the second category of prohibited evidence,          recollection of threat); but see Bennet Dep. at 144–45
evidence regarding Bennet's brother, Michael, we first              (stating he did not recall threat).
address the defendants’ mootness argument. The defendants
argue that, while Palin challenged the district court's Rule        This evidence was relevant. A reasonable juror could infer
402-based exclusion of this evidence, her appeal failed to          that the aforementioned evidence gave Bennet a reason to
contest the district court's rejection of the evidence under        personally dislike Palin and that it was therefore more likely
Rule 403. The defendants assert that this moots the issue           that he intentionally or recklessly, rather than inadvertently,
because, even if we reverse the Rule 402 ruling, the                connected her to the Loughner shooting. Furthermore, to a
unchallenged Rule 403 ruling would stand.                           reasonable juror, the threat to Senator Bennet just prior to the
                                                                    Loughner shooting might have heightened James Bennet's
It is true that arguments not raised on appeal are generally        sensitivity to stories about political shootings, making more
deemed forfeited (often mischaracterized as waiver17). But          likely the possibility that he learned of the crosshairs map
because this “rule is prudential, not jurisdictional, ... we have   controversy. Were the jury to draw such an inference, it
discretion to consider [forfeited] arguments.” Dean v.              would likely bear upon the credibility of Bennet's assertions
Blumenthal, 577 F.3d 60, 67 n.6 (2d Cir. 2009) (per curiam)         that he was unaware of the controversy when drafting the
(internal quotation marks omitted). One of the rule's key           challenged statements.
aims is to promote judicial economy. See Thomas v. Arn, 474
U.S. 140, 147–48, 106 S.Ct. 466, 88 L.Ed.2d 435 (1985).             *19 Second, the district court abused its discretion by
While it is typically inefficient to address arguments not          rejecting this evidence under Rule 403, which allows the
made by the parties, in this case we are concerned that not         exclusion of relevant evidence only “if its probative value is
doing so may be more wasteful: because a new trial is               substantially outweighed by a danger of ... unfair prejudice,
already required, correcting the district court's errors now,       confusing the issues, [or] misleading the jury ....” Fed. R.
even though forfeited, will best conserve judicial resources.       Evid. 403 (emphasis added). The district court made no
See United States v. Greenfield, 831 F.3d 106, 124 n.18 (2d         mention of prejudice on the record and instead simply
Cir. 2016) (considering forfeited argument “in the interest of      announced that it agreed that the proposed evidence was
judicial economy”); United States v. Brennan, 650 F.3d 65,          barred “on both 402 grounds and 403 grounds.” App'x 585–
131 n.67 (2d Cir. 2011) (remanding “arguably forfeited”             86. Nor did the district court's Rule 50 order identify any


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prejudice. See Sp. App'x 67 n.31. Given that, for the reasons      defamatory malice, although at least one Supreme Court
already stated, the district court improperly discounted the       Justice has indicated that no such requirement exists. See
evidence's probative value, because it articulated no              Greenbelt Coop. Publ'g Ass'n v. Bresler, 398 U.S. 6, 22, 90
countervailing prejudice, we conclude that the district court's    S.Ct. 1537, 26 L.Ed.2d 6 (1970) (White, J., concurring)
exclusion of the evidence on Rule 403 grounds was an abuse         (arguing that Sullivan’s actual malice standard should not be
of discretion. See United States v. Dwyer, 539 F.2d 924, 928       “extended to preclude liability for injury to reputation caused
(2d Cir. 1976) (“Since the probative value of the evidence         by employing words of double meaning, one of which is
proffered was so great, it should not have been excluded in        libelous, whenever the publisher claims in good faith to have
the absence of a significant showing of unfair prejudice.”).       intended the innocent meaning”). We therefore address this
Excluding this evidence without a showing of unfair                question as a matter of first impression.
prejudice affected Palin's substantial rights and was an abuse
of discretion further warranting a new trial. See Schering         Although some of our sister circuits have recognized that
Corp., 189 F.3d at 224.                                            proof of an author's understanding as to a statement's
                                                                   defamatory meaning can be an element of the cause of
To be clear, we do not hold that any and all evidence              action, they have done so in so-called “defamation-by-
regarding Senator Bennet should have been allowed at trial.        implication cases”—i.e., cases where “the alleged
It is James Bennet who is a party to this case, not his brother.   defamatory statement has two possible meanings, one that is
But the evidence Palin intended to introduce, see App'x 584–       defamatory and one that is not.” Kendall v. Daily News
85, should have been admitted because it bears on James            Publ'g Co., 716 F.3d 82, 89 (3d Cir. 2013); see, e.g., Howard
Bennet's own potential bias against Palin and his possible         v. Antilla, 294 F.3d 244, 252 (1st Cir. 2002); Kendall, 716
awareness of the falsity of the challenged statements.             F.3d at 90; Chapin v. Knight-Ridder, Inc., 993 F.2d 1087,
                                                                   1092–93 (4th Cir. 1993); Compuware Corp. v. Moody's Invs.
                                                                   Servs., Inc., 499 F.3d 520, 528–29 (6th Cir. 2007); Saenz v.
                                                                   Playboy Enters., 841 F.2d 1309, 1318 (7th Cir. 1988);
            3. Defamatory Malice Requirement
                                                                   Newton v. Nat'l Broad. Co., 930 F.2d 662, 681 (9th Cir.
In ruling on the parties’ motions for summary judgment, the        1990); Klayman v. City Pages, 650 F. App'x 744, 749 (11th
district court agreed with the defendants’ argument that Palin     Cir. 2016); White v. Fraternal Ord. of Police, 909 F.2d 512,
was required to prove “defamatory malice”—i.e., that               520 (D.C. Cir. 1990). Those courts have held that it is only
Bennet intended or recklessly disregarded that ordinary            in defamation by implication cases that plaintiffs “must show
readers would understand his words to have the defamatory          something beyond knowledge of, or recklessness in regard
meaning alleged by Palin. The district court concluded,            to, the falsity of the statement's defamatory meaning,”
however, that a reasonable jury could find that Bennet had         because it is only in such cases that a defendant can claim
defamatory malice in drafting the challenged statements.           not to have intended the defamatory meaning. Kendall, 716
Therefore, it denied defendants’ summary judgment motion           F.3d at 90; see, e.g., Dodds v. Am. Broad. Co., 145 F.3d
on the issue but instructed the jury that it must find             1053, 1063–64 (9th Cir. 1998) (requiring plaintiff to prove
defamatory malice in order to hold the defendants liable.          actual malice as to defamatory meaning where broadcaster
Palin asserts that proving defamatory malice is not required       implied, but did not state explicitly, that plaintiff used crystal
in public-figure defamation cases, while the defendants            ball to make judicial decisions).
contend that showing defamatory malice is required—and
that we should grant them judgment as a matter of law              *20 We need not decide whether to join these courts in
because Palin failed to make such a showing (an argument           holding that a plaintiff must prove actual malice as to
that the district court denied as moot and did not                 defamatory meaning because this is not a defamation-by-
substantively address in its Rule 50 judgment).                    implication case. The challenged statements here are
                                                                   unambiguous and facially defamatory because they claimed
Neither this circuit nor the Supreme Court has directly ruled      there was a “direct” and “clear” “link” between the
on whether a public-figure defamation plaintiff must prove         crosshairs map and the Loughner shooting. Thus, this is an


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“ordinary” defamation case in which the intent to defame can        statement by itself is ordinarily insufficient proof. See
be established by showing “that the defendants knew their           Anderson, 477 U.S. at 256–57, 106 S.Ct. 2505; Contemp.
statement was false,” not a case in which the challenged            Mission, 842 F.2d at 621–22. The district court failed,
statement was susceptible to both “defamatory and                   however, to consider the entirely plausible possibility that
nondefamatory meanings.” Kendall, 716 F.3d at 90. The               the jury was instead wondering whether a positive inference
district court therefore erred by instructing the jury that Palin   drawn from Bennet's testimony on cross-examination—that
was required to prove actual malice as to defendants’               is, a direct inference made from something that Bennet
understanding of the editorial's defamatory meaning.                affirmatively stated and which the jury believed—could be
                                                                    used to find actual malice.
Such an “erroneous instruction requires a new trial unless the
error is harmless.” LNC Invs., Inc. v. First Fid. Bank, N.A.        The district court justified its overly narrow view by
N.J., 173 F.3d 454, 460 (2d Cir. 1999) (internal quotation          asserting that “Bennet offered no testimony from which the
marks omitted). Errors that create a false impression               jury could properly draw a direct inference of actual malice.”
“regarding the standard of liability” are not harmless. Id. at      Sp. App'x 152. But that was incorrect. As we explained in
463 (internal quotation marks omitted). Because the jury            Section II(A)(1), a reasonable juror could directly infer
could have based its verdict solely on finding a lack of            actual malice from Bennet's statement, given in response to a
defamatory malice—an erroneous standard of liability—the            question asked by the defense, that “I didn't think then and
jury instruction on defamatory malice necessitates a new            don't think now that the [crosshairs] map caused Jared
trial.                                                              Loughner to act.” App'x 806. A juror could also have drawn
                                                                    an inference of actual malice based on Bennet's concession
                                                                    that he “must have read” the three prior Times opinion
                                                                    pieces on the Loughner shooting that Lett sent to him, which
      4. Mid-Deliberation Actual Malice Instruction
                                                                    could have placed him on notice that the crosshairs map had
Palin also challenges the district court's response to the jury's   not incited the Loughner shooting. App'x 694; see supra
mid-deliberation question of whether an “inference [made]           Section II(A)(3). Although Bennet's concession to having
from a response by Mr. Bennet from a question put forth by          read the Times opinion pieces was elicited from a question
the defense” could “contribute to the evidence brought forth        posed by the plaintiff, rather than by the defense, and thus
by the plaintiff” to conclude that “there was a high                outside the scope of the jury's question, the district court's
probability that Mr. Bennet actually doubted the truth of the       reply to the jury's question implied that no inference from
challenged statement[s].” App'x 1579 (internal quotation            any of Bennet's responses—regardless of which party's
marks omitted). She contends that the response given to the         questions he was responding to—would be sufficient to find
jury—that “an answer given by Mr. Bennet and a reasonable           actual malice. The district court's instruction may have
inference drawn therefrom is not sufficient in itself to carry      caused the jury to treat a positive inference drawn from
the plaintiff's burden of showing” actual malice, “but it can       Bennet's testimony as inadequate when, without the
contribute to the other evidence brought forth by the               instruction, the jury might otherwise have found it
plaintiff”—misstated the law. App'x 1580. We agree with             determinative.
Palin.
                                                                    *21 This error—made at a “critical portion” of the trial when
In formulating its response, the district court appears to have     the jury was deliberating—was not harmless. Girden v.
assumed that the jurors were asking whether their                   Sandals Int'l, 262 F.3d 195, 205 (2d Cir. 2001) (internal
disbelieving a statement by Bennet (presumably a denial of          quotation marks omitted). While the district court and the
knowledge) could be taken as affirmative proof of the               defendants contend that any error was cured by earlier
opposite. If that had been the case, the aforementioned             instructions given to the jury, that cannot be the case where,
response would have been more accurate: because actual              as here, the mid-deliberation instruction contradicts the pre-
malice must be found by clear and convincing evidence, a            deliberation instructions on a material point. Compare App'x
negative inference based on a jury's disbelief of a witness's       1944 (“The law makes no distinction between direct and


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circumstantial evidence.”), with id. at 1580 (indicating that       The defendants contend that Palin forfeited this issue by
inferential evidence from Bennet's testimony cannot, by             failing to argue on appeal that the notifications likely
itself, prove actual malice). And the fact that the jury had a      impacted the jury's verdict—an argument that Palin
mid-deliberation question at all indicates that it required         previously made to the district court in her post-trial motion.
further clarification beyond what the pre-deliberation jury         “It is a settled appellate rule that issues ... unaccompanied by
instructions provided. In any event, the mid-deliberation mis-      some effort at developed argumentation, are deemed”
instruction created a substantial risk of confusion on a            forfeited. Tolbert v. Queens Coll., 242 F.3d 58, 75 (2d Cir.
“potentially dispositive issue.” Restivo v. Hessemann, 846          2001) (internal quotation marks and citation omitted). This is
F.3d 547, 572 (2d Cir. 2017) (internal quotation marks              true even if an appellant argued the same issues more fully
omitted); see Hathaway v. Coughlin, 99 F.3d 550, 554 (2d            before the district court that she left undeveloped on appeal.
Cir. 1996) (holding that the district court committed               See JP Morgan Chase Bank v. Altos Hornos de Mexico, S.A.
reversible error where its erroneous jury instruction went “to      de C.V., 412 F.3d 418, 428 (2d Cir. 2005).
the very heart of the plaintiff's claim, and effectively
preclude[d] a finding of liability where one may be                 Palin implicitly references the push notifications issue in her
warranted”). Thus, a new trial is required.                         opening brief's statement of the issues and argument
                                                                    summary sections. See Appellant's Br. at 2 (asking
                                                                    “[w]hether the District Court erred by ... announcing its
                                                                    [Rule 50] decision during jury deliberations”); id. at 28
          5. Jurors’ Receipt of Push Notifications
                                                                    (“[T]he District Court erroneously ... announced [the Rule
The last trial issue we address is the jurors’ exposure during      50] decision during jury deliberations.”). But, outside of a
deliberations to push notifications announcing that the             brief footnote in her statement of the case, Palin never
district court found for the defendants in deciding the Rule        attempts any “effort at developed argumentation” regarding
50 motion.                                                          why jurors’ receipt of the notifications necessitates a new
                                                                    trial. Tolbert, 242 F.3d at 75. Because the issue is adverted to
“Justice demands that jurors ‘decide the case solely on the         in only “a perfunctory manner,” id., it is likely forfeited. See,
evidence’ before them, without any outside influence.”              e.g., id. (“A contention is not sufficiently presented for
Manley, 337 F.3d at 251 (quoting United States v. Olano,            appeal if it is conclusorily asserted only in a footnote.”);
507 U.S. 725, 738, 113 S.Ct. 1770, 123 L.Ed.2d 508 (1993)).         Niagara Mohawk Power Corp. v. Hudson River-Black River
We have shown particular concern over the potential                 Regulating Dist., 673 F.3d 84, 107 (2d Cir. 2012)
prejudice of external messages that “attempt to tell the juror      (concluding that a brief's two “cursory” references to an
how she should decide the case,” id. at 252, and have stated        issue—one in the list of issues presented for review and the
that reversal may be required where a judge expresses his           other in a footnote in the statement of facts—did not
opinion on an ultimate issue of fact before the jury, see           sufficiently present the issue for appellate review); United
Manganiello v. City of New York, 612 F.3d 149, 169 (2d Cir.         States v. Restrepo, 986 F.2d 1462, 1463 (2d Cir. 1993)
2010).                                                              (noting that a “[r]eference to a claim in a footnote, without
                                                                    its having been identified in the manner required by [R]ule
“Where an extraneous influence is shown, the court must             28 as ... part of the argument, ... [is] insufficient to present
apply an objective test, assessing for itself the likelihood that   the claim for review on direct appeal” (citing Fed. R. App. P.
the influence would affect a typical juror.” Bibbins v.             28)).
Dalsheim, 21 F.3d 13, 17 (2d Cir. 1994) (per curiam)
(internal quotation marks omitted). This test focuses on two        *22 We have discretion, however, “to decide the merits of a
factors: “(1) the nature of the information or contact at issue,    forfeited claim or defense where the issue is purely legal and
and (2) its probable effect on a hypothetical average jury.”        there is no need for additional fact-finding ....” Patterson v.
Manley, 337 F.3d at 252 (internal quotation marks omitted).         Balsamico, 440 F.3d 104, 112 (2d Cir. 2006). Because a new
                                                                    trial is required in any event, we choose to exercise that
                                                                    discretion here to address the push notifications issue, which


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involves no disputed questions of fact and can be resolved by     “[J]udicial rulings alone almost never constitute a valid basis
a straightforward application of the objective test outlined in   for a bias or partiality motion.” Liteky v. United States, 510
Bibbins. See Brennan, 650 F.3d at 131 n.67 (remanding             U.S. 540, 555, 114 S.Ct. 1147, 127 L.Ed.2d 474 (1994).
“arguably forfeited” issue since “remand ... [was] required in    While they may do so where a trial judge displays such a
any event”); Restrepo, 986 F.2d at 1463 (remanding issue          “deep-seated and unequivocal antagonism that [it] would
that was otherwise forfeited in direct appeal because the         render fair judgment impossible,” Palin provides no such
issue was, in any event, also subject to collateral attack).      evidence. Id. at 556, 114 S.Ct. 1147. Moreover, while Canon
                                                                  3A(6) of the Code of Conduct for United States Judges states
Turning to the merits, we note at the outset that the district    that a “judge should not make public comment on the merits
court did not proximately cause the push notifications.           of a [pending] matter,” Palin fails to explain how the district
Indeed, they came as an unfortunate surprise to the district      court's statement to a reporter confirming that jurors had
judge. But we do find error in the district court's conclusion    received push notifications constitutes a statement “on the
that the jury's verdict was not prejudiced because the jurors     merits” of the case.
assured his law clerk that the push notifications “had not ...
played any role whatever in their deliberations.” Sp. App'x       The “[m]ere conclusions [and] opinions” that Palin offers as
84–85. It is well-settled that “an analysis of prejudice cannot   to why she believes the district judge is, or appears to be,
be based on the subjective reports of the actual jurors.”         biased do not “constitute legally sufficient grounds for
Manley, 337 F.3d at 252. And, after applying the required         recusal.” Hodgson v. Liquor Salesmen's Union Loc. No. 2,
objective test, we have no difficulty concluding that an          444 F.2d 1344, 1348 (2d Cir. 1971). On remand, we are
average jury's verdict would be affected if several jurors        confident that the district judge will adhere to the principle
knew that the judge had already ruled for one of the parties      of complete impartiality, and its appearance, in fulfilling his
on the very claims the jurors were charged with deciding.         future judicial responsibilities in this case.
Given a judge's special position of influence with a jury, we
think a jury's verdict reached with the knowledge of the
judge's already-announced disposition of the case will rarely
                                                                                           Conclusion
be untainted, no matter what the jurors say upon subsequent
inquiry. We therefore conclude that a new trial is warranted      *23 For the forgoing reasons, we VACATE both the district
on this basis.                                                    court's Rule 50 judgment and the jury's verdict and
                                                                  REMAND the case to the district court for further
                                                                  proceedings, including a new trial, consistent with this
   C. Disqualification                                            opinion.
Finally, Palin asserts that the district judge erred in not
disqualifying himself pursuant to 28 U.S.C. § 455(a) before
                                                                  All Citations
ruling on her post-trial motion. Section 455(a) states that any
federal judge “shall disqualify himself in any proceeding in      --- F.4th ----, 2024 WL 3957617
which his impartiality might reasonably be questioned.” As
evidence of the district judge's partiality, Palin cites the
judge's trial rulings that she has challenged on appeal
(including his initial dismissal of the complaint, erroneous
evidentiary rulings, and determination that Palin was
required to prove actual and defamatory malice) and the
judge's comments to a reporter about the jurors’ receipt of
push notifications. A district judge's non-recusal decision is
reviewed for an abuse of discretion. United States v.
Brinkworth, 68 F.3d 633, 637 (2d Cir. 1995).


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                                                           Footnotes

*
       The Clerk of Court is respectfully directed to amend the official caption in this case to conform with the caption
       above.
1
       “PX” refers to plaintiff's exhibits received into evidence at trial; “DX” refers to defendants’ exhibits received into
       evidence at trial; “App'x” refers to the Joint Appendix; “Sp. App'x” refers to the Special Appendix; and “Suppl.
       App'x” refers to defendants’ Supplemental Appendix.
2
       Among those killed was Judge John M. Roll, who attended the event in his capacity as Chief Judge of the United
       States District Court for the District of Arizona.
3
       In full, the paragraphs of the editorial containing the challenged statements read:

         “Was [the Hodgkinson shooting] evidence of how vicious American politics has become? Probably. In 2011, when
         Jared Lee Loughner opened fire in a supermarket parking lot, grievously wounding Representative Gabby Giffords
         and killing six people, including a 9-year-old girl, the link to political incitement was clear. Before the shooting,
         Sarah Palin's political action committee circulated a map of targeted electoral districts that put Ms. Giffords and 19
         other Democrats under stylized cross hairs.
         Conservatives and right-wing media were quick on Wednesday to demand forceful condemnation of hate speech
         and crimes by anti-Trump liberals. They're right. Though there's no sign of incitement as direct as in the Giffords
         attack, liberals should of course hold themselves to the same standard of decency that they ask of the right.” Suppl.
         App'x 440 (PX-4) (emphasis added).
4
       The term “blood libel” is typically “used to describe false and beyond-the-pale charges throughout history that Jews
       committed unspeakable crimes.” Frank James, Sarah Palin's 'Blood Libel' Charge Stirs New Controversy, Nat'l Pub.
       Radio (Jan. 12, 2011, 12:53 PM), https://www.npr.org/sections/itsallpolitics/2011/01/12/132861457/sarah-palins-
       blood-libel-use-stirs-new-controversy [https://perma.cc/83PD-33HE]. These fabricated allegations were “used to
       justify atrocities against Jews over centuries.” Id. Palin used the term in a video addressing assertions that her
       “political rhetoric contributed to an atmosphere that made the [Loughner] shooting more likely.” Id. In the video,
       Palin stated: “If you don't like a person's vision for the country, you're free to debate that vision. If you don't like their
       ideas, you're free to propose better ideas. But, especially within hours of a tragedy unfolding, journalists and pundits
       should not manufacture a blood libel that serves only to incite the very hatred and violence they purport to condemn.
       That is reprehensible.” Id. (emphasis added).
5
       The initial draft and the published editorial both incorrectly implied that the crosshairs symbols were placed on
       photos of Giffords and other Democratic representatives, rather than on their congressional districts. See Suppl.
       App'x 454 (PX-141); id. at 440 (PX-4).
6
       The defendants sought to exclude evidence related to: (1) articles published by entities under the same corporate
       umbrella as The Atlantic magazine, where Bennet was editor-in-chief at the time of the Loughner shooting, that
       discussed either the shooting or Palin and her family; (2) an article published in The New Republic entitled “How the
       Media Botched the Arizona Shooting,” which Bennet received in 2011 as part of a list of three links to sources for a
       potential story; (3) Bennet's brother, a Democratic United States Senator; (4) the Times’ June 2020 publication of an
       opinion piece by Senator Thomas Cotton, unrelated to the Loughner shooting or the crosshairs map, which preceded
       Bennet's resignation from the Times; (5) other controversies during Bennet's tenure as the Times’ Opinion Editor
       unrelated to the editorial at issue in this case; and (6) the Times’ decision to eliminate its public editor position. The
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       district court granted defendants’ motion to exclude “evidence relating to Mr. Bennet's departure from [the Times]
       and other controversies during his time at [the Times] with respect to his departure.” App'x 59. It also excluded a
       subset of articles “about Ms. Palin's son, Trig.” App'x 62. All other exclusion requests were initially denied, although
       the district court indicated that the requests could be re-raised at trial. As noted infra in Section II(B)(2), on this
       appeal, Palin challenges only the exclusion of certain of these articles and the exclusion of evidence regarding
       Bennet's brother.
7
       “Push notifications are the alerts that apps send to your phone ... even when the apps aren't open.” Abigail Abesamis
       Demarest, What are push notifications? How the pop-up alerts sent by apps, devices, and browsers work, Bus.
       Insider (Apr. 23, 2021, 3:24 P.M.), https://www.businessinsider.com/guides/tech/what-are-push-notifications
       [https://perma.cc/FW78-KJGV]. Thus, a push notification from a news application can appear at the top of an
       individual's smartphone or on the lock screen of their phone even if they do not open that application.
8
       This judgment “rest[ed] independently on both federal law, via the First Amendment, and on New York State
       statutory law, via Civil Rights L. § 76-a(2).” Sp. App'x 56. But because the First Amendment and New York's
       amended Anti-SLAPP Statute share the same substantive requirement (that a public-figure defamation plaintiff must
       prove actual malice by clear and convincing evidence), we need not decide—and do not decide—whether the Anti-
       SLAPP Statute's amendment applies retroactively.
9
       Bennet was responding to the question of why he did not research “whether or not Jared Loughner had seen the
       crosshairs map.” App'x 805. His full response reads: “I was functioning as the editor, not the reporter on the piece, so
       I wouldn't normally do the reporting in a situation like this, particularly when we were on a tight deadline. But also ...
       I didn't think then and don't think now that the map caused Jared Loughner to act. I didn't think we were saying that,
       and therefore I wouldn't have—the question wouldn't have entered my mind, didn't enter my mind to research that
       question.” Id. at 806.
10
       Bennet drafted the following response to a reporter's question: “I'm not aware that Sarah Palin has asked for an
       apology, but, yes, I, James Bennet, do apologize to her for this mistake.” Sp. App'x 44 n.17 (quoting DX-60). This
       apology was never passed along to the reporter by the Times’ public relations team, however, so Palin never received
       it. Id. at 77.
11
       The evidence shows that the only step Bennet took on the night of June 14 to follow up on Douthat's email was
       texting Williamson at 11:38 p.m. to state “the right is coming after us over the Giffords comparison. Do we have it
       right?” App'x 1849. Receiving no response, Bennet did nothing further until the next morning.
12
       The defendants further argue that we should rule for them as a matter of law because Palin failed to prove defamatory
       malice (i.e., that Bennet intended or recklessly disregarded that ordinary readers would understand the challenged
       statements to have the defamatory meaning alleged by Palin). As discussed in Section II(B)(3) of this opinion,
       however, Palin does not need to prove defamatory malice as an element of her defamation claim.
13
       The exact titles of the Excluded Articles are not identified in the record except for an article published by The Wire
       entitled “Ten Days That Defined 2011.”
14
       The district court was initially misled on this point by defendants’ counsel, who insisted that “[t]he Daily Dish was a
       separate website,” such that Bennet's statement in his deposition that he “consum[ed]” The Atlantic’s website would
       not support a conclusion that Bennet encountered any Daily Dish articles. App'x 409–11; Dist. Ct. Dkt. 109-4 at 123.
       But Palin's counsel later clarified that The Atlantic’s website did host at least one Daily Dish article regarding Jared
       Loughner. See App'x 586. In fact, Palin's list of Loughner-related articles hosted on The Atlantic’s website—a list she
       sought to introduce as evidence, App'x 586–87—indicated that the website hosted at least nine Daily Dish articles
       referencing Loughner. See Dist. Ct. Dkt. 109-69; App'x 1726–44. Nonetheless, the district court concluded that Palin

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       had not given sufficient reason to think that Bennet had read any of the Daily Dish articles that she sought to
       introduce.
15
       The date Bennet initially subscribed to the email list is not clear from the record, nor is it apparent whether he ever
       unsubscribed.
16
       See, e.g., App'x 116–17 (finding Palin's admissibility arguments “thin” given Bennet's testimony that he had “no
       recollection of reading” the articles); id. at 405 (“[A]ssuming [Bennet] testifies that he never saw [the articles], let me
       hear ... why the jury could nevertheless ... infer that he did see them.”); id. at 407 (“What would be the argument ...
       that it was more likely than not that he did read [the articles], despite his denial?”); id. at 470 (“What evidence ...
       would make it more likely than not ... that ... Bennet saw any particular article in The Daily Dish if his testimony is
       that he didn't see [it]?”).
17
       “The term ‘waiver’ is best reserved for a litigant's intentional relinquishment of a known right. Where a litigant's
       action or inaction is deemed to incur the consequence of loss of a right, or ... a defense, the term ‘forfeiture’ is more
       appropriate.” Hamilton v. Atlas Turner, Inc., 197 F.3d 58, 61 (2d Cir. 1999); see also Puckett v. United States, 556
       U.S. 129, 138, 129 S.Ct. 1423, 173 L.Ed.2d 266 (2009) (noting that waiver occurs where a party “intentionally
       relinquishe[s] or abandon[s]” an argument).


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